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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                                  Delaware
 ____________________ District of _________________
                                       (State)
 Case number (If known): _________________________ Chapter _____                                                                         Check if this is an
                                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/16

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.   Debtor’s name                          Samuels Jewelers, Inc.
                                           ______________________________________________________________________________________________________




2.   All other names debtor used            Schubach, Samuels, Rogers, Samuels Fine Jewelry, Andrews, Samuels Diamonds
                                           ______________________________________________________________________________________________________
     in the last 8 years                   ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
     Include any assumed names,
                                           ______________________________________________________________________________________________________
     trade names, and doing business
     as names                              ______________________________________________________________________________________________________




3.   Debtor’s federal Employer
                                            9 ___
                                           ___ 5 – ___
                                                    3 ___
                                                       7 ___
                                                          4 ___
                                                             6 ___
                                                                3 ___
                                                                   1 ___
                                                                      6
     Identification Number (EIN)



4.   Debtor’s address                      Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business

                                            2914       Montopolis Drive, Suite 200
                                           ______________________________________________               _______________________________________________
                                           Number     Street                                            Number     Street


                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                            Austin                     Texas 78741
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                            Travis
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.   Debtor’s website (URL)                 www.samuelsjewelers.com
                                           ____________________________________________________________________________________________________


6.   Type of debtor                        
                                           ■ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
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Debtor
                 Samuels Jewelers, Inc.
                _______________________________________________________                      Case number (if known)_____________________________________
                Name



                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         ■ None of the above


                                         B. Check all that apply:

                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                            4 ___
                                            ___ 4 ___
                                                   8 ___
                                                      3

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the
      debtor filing?                      Chapter 7
                                          Chapter 9
                                         ■
                                          Chapter 11. Check all that apply:
                                                        Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                             insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                             4/01/19 and every 3 years after that).
                                                         
                                                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if all of these
                                                             documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                          A plan is being filed with this petition.
                                                          Acceptances of the plan were solicited prepetition from one or more classes of
                                                             creditors, in accordance with 11 U.S.C. § 1126(b).

                                                          The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                             for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                          The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10. Are any bankruptcy cases              No
      pending or being filed by a
      business partner or an              Yes. Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When             __________________
      List all cases. If more than 1,                                                                                      MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________


     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                              page 2
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Debtor          Samuels Jewelers, Inc.
               _______________________________________________________                       Case number (if known)_____________________________________
               Name




11. Why is the case filed in this       Check all that apply:
   district?
                                        
                                        ■ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                           district.

                                         A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or have         
                                        ■ No
   possession of any real                Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
   property or personal property
   that needs immediate                          Why does the property need immediate attention? (Check all that apply.)
   attention?
                                                  It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard? _____________________________________________________________________

                                                  It needs to be physically secured or protected from the weather.
                                                  It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                     attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                     assets or other options).

                                                  Other _______________________________________________________________________________


                                                 Where is the property?_____________________________________________________________________
                                                                           Number          Street

                                                                           ____________________________________________________________________

                                                                           _______________________________________         _______     ________________
                                                                           City                                            State       ZIP Code


                                                 Is the property insured?
                                                  No
                                                  Yes. Insurance agency ____________________________________________________________________
                                                          Contact name     ____________________________________________________________________

                                                          Phone            ________________________________




          Statistical and administrative information



13. Debtor’s estimation of              Check one:
   available funds                      ■ Funds will be available for distribution to unsecured creditors.
                                        
                                         After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                         1-49                            1,000-5,000                              25,001-50,000
14. Estimated number of
                                         50-99                           5,001-10,000                             50,001-100,000
   creditors
                                         100-199                         10,001-25,000                            More than 100,000
                                        ■ 200-999
                                        

                                         $0-$50,000                      $1,000,001-$10 million                   $500,000,001-$1 billion
15. Estimated assets
                                         $50,001-$100,000                $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                         $100,001-$500,000               $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                         $500,001-$1 million            ■ $100,000,001-$500 million
                                                                                                                   More than $50 billion



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                                 SAMUELS JEWELERS, INC.

                         Unanimous Consent of the Board of Directors

                                          August 7, 2018

        Pursuant to the provisions of Section 141(f) of the General Corporation Law of the State

of Delaware, the undersigned, being all of the members of the Board of Directors (the "Board")

of Samuels Jewelers, Inc., a Delaware corporation (the "Company"), do hereby waive notice of a

meeting of the Board and, pursuant to Section 2.8 of Article II and Section 7.4 of Article VII of

the Amended and Restated Bylaws of the Company, consent to, authorize and approve the

following resolutions with the same force and effect as if adopted by a unanimous vote at a duly

called meeting of the Board:

        RESOLVED, that the Company shall be, and it hereby is, authorized to file a
        voluntary petition (the "Petition") for relief under chapter 11 of the Bankruptcy
        Code, in the United States Bankruptcy Court for the District of Delaware or such
        other court as the appropriate officer or officers of the Company shall determine
        to be appropriate (the "Bankruptcy Court") and perform any and all such acts as
        are reasonable, advisable, expedient, convenient, proper or necessary to effect
        any of the foregoing and the performance of such acts to constitute the
        reasonableness, advisability, expedience, convenience, appropriateness or
        necessity thereof;

        FURTHER RESOLVED, that the chief executive officer, chief financial officer,
        chief merchandising officer or secretary of the Company or any other person
        designated and so authorized to act (collectively, the "Designated Officers") shall
        be, and each of them, acting alone, hereby is, authorized and empowered on
        behalf of, and in the name of, the Company, to: (a) execute, acknowledge,
        deliver and verify the Petition and all other ancillary documents, and cause the
        Petition to be filed with the Bankruptcy Court and make or cause to be made
        prior to execution thereof any modifications to the Petition or ancillary
        documents as any such Designated Officer, in such officer's discretion, deems
        necessary or desirable to carry out the intent and accomplish the purposes of
        these resolutions; (b) execute, acknowledge, deliver, verify and file or cause to
        be filed all petitions, schedules, statements, lists, motions, applications and other
        papers or documents necessary or desirable in connection with the foregoing;
        (c) execute, acknowledge, deliver and verify any and all other documents
        necessary or appropriate in connection therewith or to administer the Company's
        chapter 11 bankruptcy case in such form or forms as any such Designated Officer
        may approve; and (d) the actions of any Designated Officer taken pursuant to this


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        resolution, including the execution, acknowledgment, delivery and verification of
        the Petition and all ancillary documents and all other agreements, certificates,
        instruments, guaranties, notices and other documents, shall be conclusive
        evidence of such Designated Officer's approval and the necessity or desirability
        thereof;

        FURTHER RESOLVED, that the Designated Officers shall be, and each of them
        hereby is, authorized and empowered to retain, on behalf of, and in the name of,
        the Company: (a) Jones Day; (b) Richards, Layton & Finger, PA; (c) Berkeley
        Research Group, LLC; (d) Prime Clerk LLC; and (e) such additional
        professionals, including attorneys, accountants, financial advisors, investment
        bankers, actuaries, consultants or brokers, in each case as in any such Designated
        Officer's judgment may be necessary or desirable in connection with the
        Company's chapter 11 bankruptcy case and other related matters, on such terms
        as such officer or officers shall approve and such Designated Officer's retention
        thereof to constitute conclusive evidence of such Designated Officer's approval
        and the necessity and desirability thereof;

        FURTHER RESOLVED, that the law firms of Jones Day and Richards, Layton
        & Finger, PA and any additional special or other counsel selected by the
        Designated Officers, if any, shall be, and hereby are, authorized and empowered
        to represent the Company, as debtor and debtor in possession, in connection with
        a chapter 11 bankruptcy case commenced by or against it under the Bankruptcy
        Code;

        FURTHER RESOLVED, that the Company, as debtor and debtor in possession
        under chapter 11 of the Bankruptcy Code, shall be, and it hereby is, authorized to:
        (a) enter into a new debtor in possession financing facility and any associated
        documents and consummate the transactions contemplated therein (collectively,
        the "Financing Transactions") with such lenders and on such terms substantially
        consistent with those presented to the Board on or prior to the date hereof and as
        may be further approved, modified or amended by any one or more of the
        Designated Officers, as may be reasonably necessary or desirable for the
        continuing conduct of the affairs of the Company; and (b) pay related fees and
        grant security interests in and liens upon some, all or substantially all of the
        Company's assets, in such case, as may be deemed necessary or desirable by any
        one or more of the Designated Officers in connection with the Financing
        Transactions;

        FURTHER RESOLVED, that: (a) the Designated Officers shall be, and each of
        them, acting alone, hereby is, authorized and empowered in the name of, and on
        behalf of, the Company, as debtor and debtor in possession, to take such actions
        and execute, acknowledge, deliver and verify such agreements, certificates,
        instruments, guaranties, notices and any and all other documents as any of the
        Designated Officers may deem necessary or appropriate to facilitate the
        Financing Transactions (collectively, the "Financing Documents"); (b) the
        Financing Documents containing such provisions, terms, conditions, covenants,


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        warranties and representations as may be deemed necessary or desirable by any
        of the Designated Officers are hereby approved; and (c) the actions of any
        Designated Officer taken pursuant to this resolution, including the execution,
        acknowledgment, delivery and verification of all agreements, certificates,
        instruments, guaranties, notices and other documents, shall be conclusive
        evidence of such Designated Officer's approval thereof and the necessity or
        desirability thereof;

        FURTHER RESOLVED, that the Designated Officers shall be, and each of them,
        acting alone, hereby is, authorized and empowered on behalf of, and in the name
        of, the Company in connection with a chapter 11 bankruptcy case of the Company,
        to enter into one or more sale or other restructuring transactions (collectively, the
        "Sale and Restructuring Transactions");

        FURTHER RESOLVED, that the Designated Officers shall be, and each of them,
        acting alone, hereby is, authorized and empowered on behalf of, and in the name
        of, the Company, to take actions and negotiate or cause to be prepared and
        negotiated and to execute, deliver, perform and cause the performance of any
        agreements, certificates, instruments, receipts, petitions, motions or other papers
        or documents in furtherance of the Sale and Restructuring Transactions to which
        the Company is or will be a party, including, but not limited to, any term sheet,
        agency agreement, management agreement, consulting agreement, support
        agreement, chapter 11 plan, disclosure statement, asset purchase agreement and
        all exhibits and/or ancillary documents related thereto;

        FURTHER RESOLVED, that the Designated Officers shall be, and each of them,
        acting alone, hereby is, authorized and empowered on behalf of, and in the name
        of, the Company, in connection with a chapter 11 bankruptcy case of the
        Company, to implement a store closure and store liquidation plan; and that such
        officers be, and they hereby are, authorized and empowered to retain such
        advisors, liquidation firms and other agents and representatives in connection
        with the implementation of such plan as any such officer deems necessary or
        advisable, and to pay the fees and expenses of such advisors, firms, agents and
        representatives in connection therewith;

        FURTHER RESOLVED, that, in addition to the specific authorizations
        heretofore conferred upon the Designated Officers, each of the officers of the
        Company or their designees shall be, and each of them, acting alone, hereby is,
        authorized and empowered, in the name of, and on behalf of, the Company to
        take or cause to be taken any and all such further actions, to execute and deliver
        any and all such agreements, certificates, instruments, amendments and other
        documents and to pay all expenses, including filing fees, in each case as in such
        officer's or officers' judgment shall be necessary or desirable in order fully to
        carry out the intent and accomplish the purposes of the resolutions adopted
        herein;




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        FURTHER RESOLVED, that all acts lawfully done or actions lawfully taken or
        to be taken by any officer or officers of the Company in connection with any of
        the foregoing matters in all respects are hereby ratified, confirmed and approved;

        FURTHER RESOLVED, that any Designated Officer shall be, and each of them,
        acting alone, hereby is, authorized to certify and deliver, to any person to whom
        such certification and delivery may be deemed necessary or appropriate in the
        opinion of such Designated Officer, a true copy of the foregoing resolutions.

                           [Remainder of Page Intentionally Left Blank]




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                                 UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF DELAWARE

                                                             :
    In re                                                    :            Chapter 11
                                                             :
    SAMUELS JEWELERS, INC.,1                                 :            Case No. 18-_____( ___)
                                                             :
                      Debtor.                                :
                                                             :

                 CERTIFICATION OF LIST OF CREDITORS WHO
        HAVE THE 20 LARGEST UNSECURED CLAIMS AND ARE NOT INSIDERS

        The above-captioned debtor (the "Debtor") hereby certifies that the List of Creditors Who
Have the 20 Largest Unsecured Claims and Are Not Insiders (the "Top 20 List") submitted
herewith contains the names and addresses of the Debtor's top 20 unsecured creditors. To the
best of the Debtor's knowledge, the Top 20 List is complete, correct, and consistent with the
Debtor's books and records as of the date hereof.

        The information contained in the Top 20 List is based upon a review of the Debtor's
books and records as of August 6, 2018. However, no comprehensive legal or factual
investigations with regard to possible defenses to any claims set forth in the Top 20 List have
been completed. Therefore, the listing does not, and should not, be deemed to constitute: (1) a
waiver of any defense to any listed claim; (2) an acknowledgement of the allowability of any
listed claim; or (3) a waiver of any other right or legal position of the Debtor.

            .




1
            The last four digits of the Debtor's taxpayer identification number are 6316 and its address is
            2914 Montopolis Drive, Suite 200, Austin, Texas 78741.



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    Fill in this information to identify the case and this filing:

    Debtor Name Samuels Jewelers, Inc.

    United States Bankruptcy Court for the: District of Delaware______

    Case Number (if known): _____________

                                                                                                                           Check if this is an
                                                                                                                             amended filing

      Official Form 204
      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
      Unsecured Claims and Are Not Insiders1
      A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
      debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include
      claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
      holders of the 20 largest unsecured claims.

       Name of creditor and                  Name, telephone                 Nature of     Indicate if  Amount of unsecured claim
       complete mailing                      number, and email               the claim     claim is     If the claim is fully unsecured, fill in
       address, including zip                address of creditor             (for example, contingent,  only unsecured claim amount. If
       code                                  contact                         trade debts, unliquidated, claim is partially secured, fill in total
                                                                             bank loans, or disputed    claim amount and deduction for
                                                                             professional               value of collateral or setoff to
                                                                             services, and              calculate unsecured claim.
                                                                             government
                                                                             contracts)                 Total         Deduction Unsecured
                                                                                                        claim, if     for value claim
                                                                                                        partially     of
                                                                                                        secured       collateral
                                                                                                                      or setoff
    1 Exclusive Design Direct Inc. Attn: President Or General                Trade                                                 $9,093,323.54
      31650 Dequindre Rd., Ste. 530 Counsel
      Sterling Heights, MI 48310       Tel: 586‐693‐5890
    2 Taipinyang Trading Ltd.          Attn: President Or General Trade                                                             $6,070,890.26
      22/F, No. 280                    Counsel
      Portland Street
      Hunghom, Kowloon
    3 GoGreen Diamonds Inc.            Attn: Sehal Moody          Trade                                                             $5,466,902.25
      62 West 47th Street              Tel: 212‐768‐2714
      Suite #902-A                     Email:
      New York, NY 10036               sales@GoGreenDiamonds.com
    4 Jewel Evolution Inc.             Attn: Surya Vempati        Trade                                                             $2,379,449.25
      50 West 47th Street              Tel: 212‐398‐3891
      Suite 1710
      New York, NY 10036
    5 Voyager Brands, Inc.             Attn: President Or General Trade                                                               $973,952.51
      6201 E. Oltorf Street, Suite 700 Counsel
      Austin, TX 78741                 Tel: 512‐599‐8049
                                       Tel: 800‐432‐1234
                                       Email:
                                       cs@voyagerbrands.com




1
            This list does not include intercompany claims with affiliated entities.
                                                     List of Creditors Who Have the 20 Largest Unsecured Claims                        page 1
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    Name of creditor and          Name, telephone              Nature of     Indicate if  Amount of unsecured claim
    complete mailing              number, and email            the claim     claim is     If the claim is fully unsecured, fill in
    address, including zip        address of creditor          (for example, contingent,  only unsecured claim amount. If
    code                          contact                      trade debts, unliquidated, claim is partially secured, fill in total
                                                               bank loans, or disputed    claim amount and deduction for
                                                               professional               value of collateral or setoff to
                                                               services, and              calculate unsecured claim.
                                                               government
                                                               contracts)                 Total         Deduction Unsecured
                                                                                          claim, if     for value claim
                                                                                          partially     of
                                                                                          secured       collateral
                                                                                                        or setoff
 6 National Electronics Warranty Attn: Fredrick D. Schaufeld   Trade                                                  $647,135.08
    Company                       Tel: 703‐318‐7700
    d/b/a N.E.W. Customer Service Fax: 703‐810‐8884
    Company
    22660 Executive Drive
    Suite #122
    Sterling, VA 20166
 7 Kiran Jewels, Inc.             Attn: President Or General Trade                                                     $595,137.35
    521 Fifth Avenue 8th Floor    Counsel
    Suite 820                     Tel: 212‐819‐0215
    New York, NY 10175            Fax: 212‐819‐0443
 8 M. Geller Ltd.                 Attn: President Or General Trade                                                     $446,304.64
    29 East Madison, Suite #1805 Counsel
    Chicago, IL 60602             Tel: 312‐984‐1041
                                  Fax: 312‐553‐0646
                                  Email:
                                  customerservice@mgellerdia
                                  monds.com
 9 Frederick Goldman, Inc.        Attn: Richard Goldman      Trade                                                     $404,123.46
    55 Hartz Way                  Tel: 212‐924‐6767
    Secaucus, NJ 07094            Fax: 212‐332‐9344
                                  Email:
                                  B2BSupport@FGoldman.com
 10 RDI Diamonds                  Attn: Michael Indelicato   Trade                                                     $342,304.92
    2300 W. Ridge Road 4th Floor Tel: 585‐225‐3390
    Rochester, NY 14626           Fax: 585‐225‐0415
 11 One Touch Point Southwest,    Attn: Christopher Illman   Trade                                                     $340,563.44
    Corp.                         Tel: 512‐454‐6874
    d/b/a One Touch Point -       Fax: 630‐586‐9032
    Ginny's
    P.O. Box 143924
    Austin, TX 78714-3924
 12 Simon Property Group, Inc.    Attn: David Simon          Trade                                                     $326,044.55
    225 W. Washington St.         Tel: 317-636-1600
    Indianapolis, IN 46204-3438 Email: dsimon@simon.com
 13 Verona LLC                    Attn: President Or General Trade                                                     $275,818.45
    2346 South Lynhurst Drive     Counsel
    Suite #C101                   Tel: 317‐248‐9888
    Indianapolis, IN 46241        Fax: 317‐481‐8650
 14 Macerich Company              Attn: Arthur M. Coppola    Trade                                                     $232,930.65
    401 Wilshire Blvd., Ste. 700  Tel: 310-394-6000
    Santa Monica, CA 90401-1452 Fax: 310-394-7692




                                        List of Creditors Who Have the 20 Largest Unsecured Claims                      page 2
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    Name of creditor and         Name, telephone              Nature of     Indicate if  Amount of unsecured claim
    complete mailing             number, and email            the claim     claim is     If the claim is fully unsecured, fill in
    address, including zip       address of creditor          (for example, contingent,  only unsecured claim amount. If
    code                         contact                      trade debts, unliquidated, claim is partially secured, fill in total
                                                              bank loans, or disputed    claim amount and deduction for
                                                              professional               value of collateral or setoff to
                                                              services, and              calculate unsecured claim.
                                                              government
                                                              contracts)                 Total         Deduction Unsecured
                                                                                         claim, if     for value claim
                                                                                         partially     of
                                                                                         secured       collateral
                                                                                                       or setoff
 15 Quality Gold Of Cincinnati   Attn: President Or General   Trade                                                  $191,564.70
    500 Quality Blvd.            Counsel
    Fairfield, OH 45014          Tel: 513‐942‐7659
                                 Fax: 513‐682‐1100
                                 Email: info@QGold.
 16 Seiko Corporation of America Attn: President Or General Trade                                                     $182,482.01
    P.O. Box #100167             Counsel
    Atlanta, GA 30384-0167       Tel: 201‐529‐3316
                                 Fax: 201‐529‐4525
                                 Email:
                                 custserv@seikousa.com
 17 Shahar Diamonds LLC          Attn: President Or General Trade                                                     $153,075.30
    15 West 47th Street          Counsel
    Suite #1205                  Tel: 212‐840‐9292
    New York, NY 10036           Fax: 212‐840‐9514
 18 Absolute Brilliance, Inc.    Attn: President Or General Trade                                                     $149,208.66
    581 Fifth Avenue 5th Floor   Counsel
    New York, NY 10017           Tel: 212-768‐4747
                                 Fax: 212‐869‐9078
 19 GGP Inc.                     Attn: Keven Berry          Trade                                                     $117,406.29
    350 North Orleans, Ste. 300  Tel: 312-960-5529
    Chicago, IL 60654-1607       Email: kevin.berry@ggp.com
 20 HEB Grocery Company, LP      Attn: Charles C. Butt      Trade                                                     $111,265.00
    646 S Flores St.             Tel: 210-938-8357
    San Antonio, TX, 78204-1219 Fax: 210-938-7788




                                       List of Creditors Who Have the 20 Largest Unsecured Claims                      page 3
NAI-1504010283v3
                                 Case 18-11818-BLS                Doc 1           Filed 08/07/18              Page 14 of 16

 Fill in this information to identify the case and this filing:


              Samuels Jewelers, Inc.
 Debtor Name __________________________________________________________________
                                                                            Delaware
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
          Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
          Schedule H: Codebtors (Official Form 206H)
          Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
          Amended Schedule ____
         ■ Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
         

          Other document that requires a declaration__________________________________________________________________________________



        I declare under penalty of perjury that the foregoing is true and correct.


                    08/07/2018
        Executed on ______________                         8 /s/ Farhad Wadia
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Farhad Wadia
                                                                ________________________________________________________________________
                                                                Printed name

                                                                Chief Executive Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
                   Case 18-11818-BLS           Doc 1        Filed 08/07/18       Page 15 of 16




                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF DELAWARE

                                                        :
In re                                                   :            Chapter 11
                                                        :
SAMUELS JEWELERS, INC.,1                                :            Case No. 18-_____( ___)
a Delaware corporation,                                 :
                                                        :
                   Debtor.                              :
                                                        :

                          STATEMENT OF CORPORATE OWNERSHIP

        Following is the list of entities that directly or indirectly own 10% or more of any class of

Samuels Jewelers, Inc. equity interests. This list is prepared in accordance with Fed. R. Bankr.

P. 1007(a)(1) and Fed. R. Bankr. P. 7007.1, for filing in this case.

                                            Gitanjali Gems Limited
                                               Mehul C. Choksi2

                              LIST OF EQUITY SECURITY HOLDERS

        Following is a list of debtor Samuels Jewelers, Inc.'s equity security holders. This list has

been prepared in accordance with Fed. R. Bankr. P. 1007(a)(3) for filing in this chapter 11 case.

                                        Gitanjali Gems Limited
                        A-1, 7th Floor, Laxmi Tower, Bandra - Kurla Complex
                                Bandra (East), Mumbai - 400051, India
                                                (100%)




1
        The last four digits of the Debtor's taxpayer identification number are 6316 and its address is
        2914 Montopolis Drive, Suite 200, Austin, Texas 78741.
2
        Based on information current as of December 31, 2017.




NAI-1504010209v1
                                 Case 18-11818-BLS                Doc 1           Filed 08/07/18              Page 16 of 16

 Fill in this information to identify the case and this filing:


              Samuels Jewelers, Inc.
 Debtor Name __________________________________________________________________
                                                                            Delaware
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

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this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

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connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



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         another individual serving as a representative of the debtor in this case.

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          Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
          Schedule H: Codebtors (Official Form 206H)
          Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
          Amended Schedule ____

          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
         ■ Other document that requires a declaration__________________________________________________________________________________
                                                    Statement of Corporate Ownership and List of Equity Holders




        I declare under penalty of perjury that the foregoing is true and correct.


                    08/07/2018
        Executed on ______________                         8 /s/ Farhad Wadia
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Farad Wadia
                                                                ________________________________________________________________________
                                                                Printed name

                                                                Chief Executive Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
